             Case 9:19-bk-05580-FMD       Doc 19     Filed 06/25/19    Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION
                                 www.flmb.uscourts.gov

 In re:

 LOUIS ALAN MAIER,                                      Chapter 7
                                                        Case No.: 9:19-bk-05580-FMD
                        Debtor.

 ________________________________________/


                             DEBTOR'S NOTICE OF 2004
                    EXAMINATION OF QBE INSURANCE CORPORATION
                              (Production of Documents Only)

          PLEASE TAKE NOTICE that the Debtor, by and through undersigned counsel and

pursuant to Fed. R. Bankr. P. 2004 and L.R. 2004-1, demands production of (1) an itemization of

all amounts paid on behalf of East Coast Electric; (2) invoices supporting the itemization of

amounts paid on behalf of East Coast Electric; (3) itemization of all settlements made by job,

including but not limited to the job known as “DW” and “16 School”; and (4) all change orders

settled and signed, including but not limited to jobs known as “#35”, “16 School”, and “DW”.

          The requested documents shall be produced on or before August 1, 2019 to David W.

Fineman, Esq. via email at dfineman@DellutriLawGroup.com or, alternatively, delivered to The




                                               1
              Case 9:19-bk-05580-FMD       Doc 19     Filed 06/25/19   Page 2 of 2



Dellutri Law Group, P.A., 1436 Royal Palm Square Boulevard, Fort Myers, Florida 33919 for

inspection and copying.

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 24, 2019, a true and correct copy of the foregoing was

served upon all persons receiving electronic notice via the Court’s CM/ECF system in this

case including James S. Myers, Esq., counsel for QBE Insurance Corporation.

                                                   THE DELLUTRI LAW GROUP, P.A.
                                                   1436 Royal Palm Square Blvd.
                                                   Fort Myers, FL 33919
                                                   239-939-0900
                                                   239-210-3681 – Dir.
                                                   239-939-0588 – Fax
                                                   www.DellutriLawGroup.com

                                                   /s/ David W. Fineman
                                                   David W. Fineman, Esq.
                                                   FBN: 0040993
                                                   Dfineman@DellutriLawGroup.com
4252.01




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